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13                            UNITED STATES DISTRICT COURT
14                 NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
15 CALIFORNIA COALITION FOR WOMEN                         Case No. 4:23-cv-04155
   PRISONERS; R.B.; A.H.R.; S.L.; J.L.; J.M.;
16 G.M.; A.S.; and L.T., individuals on behalf of         DECLARATION OF L     N
   themselves and all others similarly situated,          T      IN SUPPORT OF
17               Plaintiffs,
                                                          PLAINTIFFS’ MOTIONS FOR
                                                          PRELIMINARY INJUNCTION
18        v.                                              AND PROVISIONAL CLASS
                                                          CERTIFICATION
19 UNITED    STATES OF AMERICA FEDERAL
   BUREAU OF PRISONS, a governmental entity;
20 BUREAU     OF PRISONS DIRECTOR COLETTE
   PETERS, in her official capacity; FCI DUBLIN
21 WARDEN      THAHESHA JUSINO, in her official
   capacity; OFFICER BELLHOUSE, in his
22 individual capacity; OFFICER GACAD, in his
   individual capacity; OFFICER JONES, in his
23 individual capacity; LIEUTENANT JONES, in
   her individual capacity; OFFICER LEWIS, in his
24 individual capacity; OFFICER NUNLEY, in his
   individual capacity, OFFICER POOL, in his
25 individual capacity, LIEUTENANT PUTNAM, in
   his individual capacity; OFFICER SERRANO, in
26 his individual capacity; OFFICER SHIRLEY, in
   his individual capacity; OFFICER SMITH, in his
27 individual capacity; and OFFICER VASQUEZ, in
   her individual capacity,
28               Defendants.
     [4265484.6]
           DECLARATION OF L   NT      IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR PRELIMINARY
                         INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
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 1                 I, L    T      , declare:
 2                 1.     I have personal knowledge of the facts set forth herein, and if called as a
 3 witness, I could and would competently so testify. I make this declaration in support
 4 Plaintiffs’ Motions for Preliminary Injunction and Provisional Class Certification.
 5                 2.     I am incarcerated in federal prison and have been incarcerated at FCI Dublin
 6 since March 2019. In the past I was incarcerated by the Bureau of Prisons (BOP) at FCI
 7 Aliceville. In the future, BOP may transfer me to other BOP facilities but at any point I
 8 could be transferred back to FCI Dublin.
 9                 3.     FCI Dublin’s inadequate systems for preventing, detecting, and responding
10 to sexual abuse have caused actual harm to myself and others incarcerated at FCI Dublin
11 and put myself and other incarcerated persons at substantial risk of serious harm from
12 sexual assault, harassment, and retaliation from staff.
13                 4.     I first witnessed sexual harassment shortly after I arrived at Dublin, in 2019.
14 I was located in the F-Unit. At that time, Associate Warden Garcia began sexually
15 harassing a young woman who was also housed in the F-Unit. Mr. Garcia would go to her
16 cell frequently. I witnessed her raise her shirt up and expose her breasts to Mr. Garcia,
17 which he appeared to enjoy. She would comment on his penis in front of me while I was
18 there, which Mr. Garcia also appeared to enjoy it because he did not do anything to stop
19 her. I viewed this is very inappropriate and it made me feel like there were no rules at FCI
20 Dublin.
21                 5.     Beginning during the COVID-19 lockdown in March 2020, I began to
22 experience sexual harassment and abuse by Officer Smith. I witnessed many other women
23 call Officer Smith “Papa Smith” and it was well known that Mr. Smith was flirtatious and
24 liked to be “hands on” with the women. I hear Mr. Smith tell other incarcerated person
25 that he liked to see “titties” because he would make these comments in front of me. He
26 would turn on music in his office and expect women to dance for him.
27                 6.     On one occasion in approximately June 2021, in F-Unit, around 8:30 p.m., as
28 folks were winding down for bed, Officer Smith was in the unit at the time and came over
     [4265484.6]                                          1
           DECLARATION OF L    T      IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR PRELIMINARY
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 1 to my doorway. Officer Smith saw me dancing in my room and came over and asked you
 2 to dance for him and I did because I felt I had no other option. While I was dancing, he
 3 asked to touch my breasts and I pulled my blouse up and he groped my bare breasts with
 4 his hands. He then took his hands away and went back to his desk when I saw another girl
 5 had come down to dance for him and she danced for him on the unit in front of the
 6 officers’ station.
 7                 7.    After this time, he would bring his radio and would ask me and others to
 8 dance for him whenever he was working the evening shift on the unit. Everyone at the
 9 facility knew he was holding strip shows but no one did anything to stop him. Officer
10 Smith would let me and others move around the unit as we wanted during facility-wide
11 lock-downs and quarantines. He would turn up the officers’ MP3 music and let us drink, as
12 long as we entertained him and the other officers with our dancing. They made it seem
13 like a party. We were allowed out of their cells to do what we wanted for the officers’
14 whole shift from – 2 pm until the 10 pm count – as long as we “entertained” Officer Smith
15 and the other officers. Officers Smith, Williams, Bell, and other officers helped by opening
16 the doors and allowing us to roam free while no one else could so that we could dance for
17 them.
18                 8.    These experiences have impacted me greatly, I have had to move units, I
19 can’t sleep, I feel anxious all the time, I cry and feel I have no one to talk to. I feel
20 degraded and judged and the harassment and retaliation continue to this day.
21                 9.    I have gone to SIS multiple times in the last few months because of
22 retaliation and they just ignore me and do nothing to help.
23                 10.   After Mr. Garcia became Warden, I also witnessed Mr. Garcia closely watch
24 my niece, M.M., exercise at the recreation yard. I heard Mr. Garcia make lewd comments
25 to M.M. His comments made me think Mr. Garcia researched M.M.’s former employment
26 as an exotic dancer, as he began to gravitate to her cell while doing rounds. I also saw
27 Mr. Garcia touch another woman’s backside as she was brushing her teeth. I told her that
28 she should report the incident, but she said she was afraid to do so because SIS Lt. Putnam
     [4265484.6]                                        2
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 1 was close friends with the Warden.
 2                 11.   When I arrived at FCI Dublin in 2019, I recall Lt. Putnam saying some stuff
 3 about PREA at orientation and watching a PREA thing on TV. But on the inside, everyone
 4 at Dublin was just partying. It was wild. I remember thinking, this is prison?
 5                 12.   Staff at FCI Dublin have never worn body-worn cameras in the facility and
 6 despite ongoing sexual abuse and assault at the facility staff still do not use body-worn
 7 cameras. There are some cameras installed in fixed locations in the facility, but it is well
 8 known that the cameras that were in the hallways did not work, and that there were no
 9 cameras in cells. The cameras that are installed are enclosed in dark colored glass and it is
10 impossible to tell where they are pointing or whether they are working.
11                 13.   There is no effective way to confidentially report sexual assault and abuse by
12 staff at FCI Dublin. During the conversation I had with my friend regarding her
13 relationship with Warden Garcia my encouragement to her to report the incident, she
14 indicated she did not want to due to Mr. Garcia’s and Lt. Putnam’s friendship. I was also
15 aware of people being placed in the SHU in retaliation for reporting which made me feel
16 afraid to report as well. The retaliation is ongoing to this day, after speaking with my
17 attorneys and the BOP psychologist I was moved from my unit in retaliation. I have met
18 with SIS four times since then, but no one has done anything to help me, and I have been
19 struggling mentally since the move and feel there is no one here I can trust.
20                 14.   I spoke with people from the U.S. Attorney’s Office in August 2022 when
21 they came to ask me about ask me about Warden Garcia. The U.S. Attorneys asked what I
22 knew about the Warden’s relationship with another woman, but I was afraid to report the
23 abuse I suffered from Officer Smith because I was afraid I would be put in the SHU after
24 having seen others sent to the SHU when they reported.
25                 15.   Now, many of the officers from that time period are still here and we are
26 facing retaliation. The officers are treating us like we wanted this to happen. I only want
27 to do my time and go home. I have tried to report issues using the forms they have here
28 for administrative remedies, but officers have refused to take them from me in the past and
     [4265484.6]                                        3
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 1 I feel like grievances don’t matter here.
 2                 16.   There is no confidential mental health care available to survivors of sexual
 3 abuse and assault at FCI Dublin. Now, nobody wants to work at FCI Dublin. I am afraid
 4 to go to the BOP mental health staff because they share what you tell them with the
 5 officers, and I am afraid of retaliation. A few months after I met with the head of
 6 psychology, Dr. Mulcahy, I was transferred from my unit because and I was told it was
 7 because of my hearing issue because I could not work at Unicor. I was confused because
 8 usually I would be able to stay on my unit because I was trying to seek medical care to
 9 address the hearing issues. After I was moved, I asked the multiple staff if I could transfer
10 back to my old unit but my old unit manager, Mr. Craig seemed to be blocking it. I went
11 to Mr. Craig, who is married to Dr. Mulcahey, and tried to find out why, he told me that it
12 was because of “all these lies you guys are telling, you guys are going to psychology and
13 telling lies about PREA” and he had too many ladies on his unit with PREA issues. It was
14 clear to me from his comments that he must have heard about my discussions with his wife
15 when I tried to access mental health care.
16                 17.   Once services from TriValley care became available I was scared to call
17 TriValley care because you have to email BOP staff to get on the list to speak with them
18 and I was afraid of retaliation. I worked up the courage to email to get added to the list
19 and once I saw counselors from TriValley, I found their services not helpful. They met
20 with me for about 30 minutes and gave me a journal. I was also uncomfortable because I
21 still had to go through Dr. Mulcahy to speak to TriValley and she was nearby during the
22 appointment.
23                 18.   There is little to no medical care available to survivors of sexual abuse and
24 assault at FCI Dublin. I need medical care for a respiratory problem. I have been given
25 expired medicines. If I do see a doctor, nothing happens, and I am just sent back to the
26 unit. I am often scared to go to medical. If I go to medical, they will say that I have
27 COVID-19 or some excuse so they don’t have to provide any other care. Recently, I
28 requested hearing aids because I have lost my hearing to the point where I cannot work.
     [4265484.6]                                         4
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 1 My request has not been responded to for several weeks.
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    [4265484.6]                                 5
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